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 7
                         UNITED STATES DISTRICT COURT
 8
                       CENTRAL DISTRICT OF CALIFORNIA
 9
10
11
12   NEMAN BROTHERS & ASSOC.,                   Case No.: 2:20-cv-11181-CAS-JPR
13   INC., a California Corporation;
                                                NEMAN BROTHERS’ OPPOSITION
14             Plaintiff/Counter-Defendant,     TO INTERFOCUS’ SECOND
15                                              MOTION FOR SUMMARY
               vs.                              JUDGMENT
16
17   INTERFOCUS, INC., a California
     Corporation, et al.,                       Date: December 6, 2021
18              Defendant/Counter-Claimant      Time: 10 a.m.
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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2                                        I.      ARGUMENTS
 3      1. 37 C.F.R. Section 202.4(c)(5) Did Not Exist At the Time of the Registrations of the
 4          Subject Designs.
 5
            Interfocus argued in its second motion that the 2019 amendments to the relevant

 6
     regulation require that “[a]ll works [identified in the group registration of unpublished
     works] must be created by the same author or joint authors, and the author and claimant
 7
     information for each work must be the same.” 37 C.F.R. § 202.4(c)(5) (Emphasis added).
 8
            The Copyright Office as of October 2016, “identified a number of provisions that
 9
     have expired or have become obsolete. Because these provisions no longer serve any
10
     purpose, the Office is removing them from its regulations.” 81 FR 6794-01, p.67942. The
11
     Office then decided the entire section 202.4 to be “[r]emoved and reserved]” Id. p.67946.
12
            202.4(c)(5) did not exist at the time of Neman’s application and registration as of
13
     …2017. NB161106 was registered as of January 13, 2017, and NB170268 was registered
14
     as of March 3, 2017. After the two registrations, the said subsection was added as of
15
     October 12, 2017 (82 FR 47415-01, pp.47420-21), and therefore cannot retroactively
16
     apply to those subject registrations in this case.
17
            In explaining the differences before and after 82 FR 47415-01, the Office stated;
18
19
                   The unpublished collection regulation provides that “a combination of such
20
                   elements shall be considered a ‘collection’ if: (1) The elements are
21
                   assembled in an orderly form; (2) The combined elements bear a single title
22
                   identifying the collection as a whole; (3) The copyright claimant in all of
23
                   the elements, and in the collection as a whole, is the same; and (4) All of
24
                   the elements are by the same author, or, if they are by different authors,
25
                   at least one of the authors has contributed copyrightable authorship to
26
                   each element.” Id. § 202.3(b)(4)(i)(B). The regulation further provides that
27
                   a “[r]egistration of an unpublished ‘collection’ extends to each
28

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 1
                   copyrightable element in the collection and to the authorship, if any,

 2
                   involved in selecting and assembling the collection.” Id; §202.3(b)(4)(i)).

 3
             In other words, before 82 FR 47415-01, when the two registrations were made, it
 4
     was not required “[a]ll works [identified in the group registration of unpublished works]
 5
     must be created by the same author or joint authors”. Later, realizing “[t]he regulatory
 6
     accommodation for unpublished collections was well-intentioned but has imposed an
 7
     increasing burden on the administration of the copyright registration system”, the Office
 8
     made changes through 82 FR 47415-01, by adding the current subsection (c)(5) to
 9
     Section 202.4.
10
             The Federal regulation made in 2018 or 2021 cannot retroactively apply the
11
     applications approved by the Office in 2017. The Ninth Circuit Court in Sacks v. S.E.C.
12
     held;
13
14
                   “[T]he presumption against retroactive legislation ... is deeply rooted in our
15
                   jurisprudence.” Id. at 785 (quoting Landgraf v. USI Film Prods., 511 U.S.
16
                   244, 265, 114 S.Ct. 1483, 128 L.Ed.2d 229 (1994)). We “disfavor
17
                   retroactive laws based on concerns about fairness: ‘elementary
18
                   considerations of fairness dictate that individuals should have an
19
                   opportunity to know what the law is and to conform their conduct
20
                   accordingly; settled expectations should not be lightly disrupted.’
21
                   ” Id. (quoting Landgraf, 511 U.S. at 265, 114 S.Ct. 1483). We only apply a
22
                   statute or regulation retroactively if there is “clear congressional intent” that
23
                   it should be applied retroactively. Id. at 786 (quoting Landgraf, 511 U.S. at
24
                   268, 114 S.Ct. 1483; see also Bowen v. Georgetown Univ. Hosp., 488 U.S.
25
                   204, 208, 109 S.Ct. 468, 102 L.Ed.2d 493 (1988) (“[A] statutory grant of
26
                   legislative rulemaking authority will not, as a general matter, be understood
27
                   to encompass the power to promulgate retroactive rules unless that power is
28
                   conveyed by Congress in express terms.”)).
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 1
                    Sacks v. S.E.C., 648 F.3d 945, 951 (9th Cir. 2011).

 2
              The Office in nowhere of the subsequent regulations, could not, and did not,
     express “clear intent” that the relevant portions should apply retroactively. See 82 FR
 3
     47415-01. By logic, the Office should not, and did not, invalidate all of the prior
 4
     registrations approved by the Office itself pursuant to its own previous regulations by
 5
     making a new rule and applying it to the previous registrations.
 6
              In this case, while the Neman’s registrations included both purchased and
 7
     internally-created designs, it was a standard procedure Neman through its designer made
 8
     changes to the purchased designs before registration in order to make the designs more
 9
     cost-efficient in manufacturing and marketable. The changes are shown by the
10
     differences between the purchased design and the registered subject designs. Mokhtarians
11
     Decl. ⁋⁋12-13, Ex. 49.
12
              This procedure was done internally through Neman’s design team under the
13
     supervision of a design manager. Therefore, for both purchased and internally-created
14
     designs, there was at least one author who contributed copyrightable authorship to each
15
     of the designs as elements in the collection. That common author is Neman’s designer or
16
     the design manager, notwithstanding of which Neman is an author anyways as discussed
17
     below.
18
19
        2. Neman Brothers Is An Author As An Employer, As Well As A Claimant As the
20
              Organization that Obtained Ownership of All Rights.
21
              Interfocus argued Neman’s copyright registrations should be invalidated because
22
     Congress also required that certain group registrations include only works by “the same
23
     individual author.” 17 U.S.C. §408(c)(2).
24
              Interfocus’ argument evinces its lack of understanding about the terms such as
25
     ‘author’ and ‘claimant’ defined by the same Code of Federal Regulations (“C.F.R.”).
26
     “The term author includes an employer or other person for whom a work is “made
27
     for hire” under section 101 of title 17.” (emphasis added) 37 C.F.R. § 202.3(a)(2) (West
28
     2020). “For the purposes of this section, a copyright claimant is either: (i) The author of
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 1
     a work; (ii) A person or organization that has obtained ownership of all rights under

 2
     the copyright initially belonging to the author.1” (emphasis added) 37 C.F.R. §
     202.3(a)(3) (2020).
 3
            Along the same line, the Copyright Compendium (the 2014 Version of the Third
 4
     Edition (“2014 Compendium”)) applicable at the time of registrations also advised “The
 5
     only parties who are eligible to be the copyright claimant are (i) the author of the work, or
 6
     (ii) a copyright owner who owns all of the exclusive rights in the work. 37 C.F.R. §
 7
     202.3(a)(3)” and “An author is either (i) the person or persons who created the work, or
 8
     (ii) the employer or other person for whom the work was prepared, if the work was
 9
     created during the course of employment or commissioned as a work made for hire. The
10
     author may be either a U.S. or a foreign citizen.” Compendium §§404-405 (3d ed. 2014).
11
            The 2014 Compendium further instructs “If the author owns all of the rights under
12
     the copyright on the date that the application is filed, the author must be named in the
13
     application as the copyright claimant.” and “If the author transferred all of the rights in a
14
     work to another party, either the author or the transferee may be named as the
15
     copyright claimant, and the application may be submitted by the author, the transferee, or
16
     their respective agents.” Compendium §405 (3d ed. 2014). If the work was created as a
17
     work made for hire, the employer for hire should be identified as the author.
18
     Compendium §503.2 (3d ed. 2014).
19
20
            In this case, Plaintiff has obtained, from the author or from an entity that has

21
     obtained ownership of all rights under the copyright initially belonging to the author, is

22
     also categorized as an author. Therefore, the subject designs based on the purchased

23
     1
24          This category includes a person or organization that has obtained, from the
25   author or from an entity that has obtained ownership of all rights under the
26   copyright initially belonging to the author, the contractual right to claim legal title to
27   the copyright in an application for copyright registration. (emphasis added) 37 C.F.R. §
28   202.3(a)(3), fn. 1 (2020). § 202.3 Registration of copyright (West 2020).

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 1   designs were modified by Neman’s employee, which makes Neman as one of the authors
 2   has contributed copyrightable authorship to each element, notwithstanding whether
 3   the designs were internally made or were modified from the purchased designs.
 4   Mokhtarians Decl. ⁋⁋10-14.
 5
 6       3. Interfocus As A Third Party Infringer Cannot Justify Its Misconducts by Disputing
 7          the Assignment or Work For Hire, for Lack of Writing.
 8
            Interfocus argued the assignment is invalid because Yoel Neman also admitted

 9
     that Neman Brothers cannot find a written assignment for one of the fabric designs at
     issue. (Nov. 1 Lee Decl. Ex. 1, Neman Depo. 68:2-19, 70:11-71:5, 86:22-87:12, 120:15-
10
     121:15; 122:15-123:11.). By the same logic, Interfocus argued Neman should present a
11
     work for hire agreement as evidence.
12
            A “work made for hire”2 is (1) a work prepared by an employee within the scope
13
     of his or her employment; or (2) a work specially ordered or commissioned for use as a
14
     contribution to a collective work, as a part of a motion picture or other audiovisual work,
15
     as a translation, as a supplementary work, as a compilation, as an instructional text, as a
16
     test, as answer material for a test, or as an atlas, if the parties expressly agree in a written
17
     instrument signed by them that the work shall be considered a work made for hire.
18
            Where there is no dispute between transferor and transferee regarding copyright's
19
     ownership, there is no requirement that writing purporting to confirm prior oral transfer
20
     of copyright be substantially contemporaneous with alleged oral transfer in order to
21
22
23
     2
24      Interfocus also argues against the registration for the alleged failure to provide the information
     about the work for hire. However, the Compendium sees it as a matter of mere supplementation.
25
     It states “[i]f the applicant failed to complete the work made for hire section of the
26   application for basic registration, that information may be added to the registration record
     with a supplementary registration. Likewise, if the basic registration erroneously states
27   that the work is (or is not) a work made for hire, the correct information may be added to
28   the registration record with a supplementary registration.” Compendium §1802.6(E) (3d
     ed. 2014).
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 1
     satisfy Copyright Act's statute of frauds provision. Barefoot Architect, Inc. v. Bunge,

 2
     C.A.3 (Virgin Islands) 632 F.3d 822 (2011).
             The chief purpose of section 204(a), (like the Statute of Frauds), is to resolve
 3
     disputes between copyright owners and transferees and to protect copyright holders from
 4
     persons mistakenly or fraudulently claiming oral licenses or copyright
 5
     ownership. Therefore, where there is no dispute between the copyright owner and the
 6
     transferee about the status of the copyright, it would be unusual and unwarranted to
 7
     permit a third-party infringer to invoke section 204(a) to avoid suit for copyright
 8
     infringement. Imperial Residential Design, Inc. v. Palms Development Group, Inc. 70
 9
     F.3d 96 99 (11th Cir. 1995) (citing Eden Toys, Inc. v. Florelee Undergarment Co.,
10
     Inc., 697 F.2d 27, 36 (2nd Cir.1982)).
11
             The 9th Circuit Court also adopted the same approach by holding Section
12
     204(a) is designed to resolve disputes between owners and transferees and to protect
13
     copyright holders from persons mistakenly or fraudulently claiming oral licenses or
14
     copyright ownership. Jules Jordan Video, Inc. v. 144942 Canada Inc., 617 F.3d 1146,
15
     1157 (9th Cir. 2010). (citing Billy–Bob Teeth, 329 F.3d. 568, 592 (7th Cir.
16
     2003)). Therefore, when there is no dispute between the copyright owner and transferee,
17
     “ ‘it would be unusual and unwarranted to permit a third-party infringer to invoke §
18
     204(a) to avoid suit for copyright infringement.’ ” Id. (quoting Imperial Residential
19
     Design, Inc. v. Palms Dev. Group, Inc., 70 F.3d 96, 99 (11th Cir. 1995).
20
             And, at least in a case such as this one—where both the original owner and the
21
     transferee have joined as plaintiffs in the same lawsuit—we will not let the alleged
22
     infringer invoke section 204(a). Imperial Residential Design, Inc. v. Palms Development
23
     Group, Inc. 70 F.3d 96 99 (11th Cir. 1995) (citing Great Southern Homes, 797 F.Supp. at
24
     611).
25
             In this case, since the assignment in 2002, the said design studio never disputed, or
26
     raised any issue, about the transfer of all rights regarding the subject design. Mokhtarians
27
     Decl. ⁋⁋12-14. In addition, as Yoel Neman stated in his deposition, Neman received an
28
     assignment in writing from Francesco, but just lost it as it was a long time ago.
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 1
 2         4. The Alleged Failure to Give the Information about All of the Authors Is Not the
 3            Matter of Invalidation, But Supplementation.
 4
              The Interfocus’ motion quotes “[t]he applicant must identify the authorship that
     each author or joint author contributed to the works, and the authorship statement for
 5
     each author or joint author must be the same.” 37 C.F.R. § 202.4(c)(7) (2019).
 6
              However, as discussed above, the subsection (c) did not exist at the time of
 7
     Neman’s registrations, and before the change, there was no such requirement. 82 FR
 8
     47415-01; 37 C.F.R. §202.3(b)(4)(i)(B) (2014). Rather, the Office’s Compendium in
 9
     Section 1802.6(D) in both versions of 2014 and 2021 allows the claimant to freely
10
     supplement as to an error or omission involving the author(s) of the work. Compendium
11
     §1802.6(D) (3d ed. 2014 and 2021) (citing 37 C.F.R. § 201.5(b)(2)(ii)(A)).
12
              Therefore, the alleged failure to give the information about all of the authors is not
13
     the issue of invalidation, but merely an immaterial issue of supplementation. The Office’s
14
     Compendium3 states a supplementary registration can be used to correct an error or
15
     omission involving the author(s) of the work. Compendium §503.2 (3d ed. 2021) (citing
16
     37 C.F.R. § 202.6(d)(3)(i)). If two or more authors created the work and some of the
17
     authors were not named, the names of the missing authors may be added to the
18
     registration record with a supplementary registration. Compendium §503.2 (3d ed. 2021).
19
20
21
22
     3
23       When interpreting the Copyright Act, we defer to the Copyright Office's interpretations

24   in the appropriate circumstances. Inhale, Inc. v. Starbuzz Tobacco, Inc. 755 F.3d 1038,

25   1041-42 (9th Cir. 2014) (citing Richlin v. Metro–Goldwyn–Mayer Pictures, Inc., 531 F.3d

26   962, 972–73 (9th Cir.2008); Batjac Prods. Inc. v. GoodTimes Home Video Corp., 160

27   F.3d 1223, 1230–31 (9th Cir.1998) (deferring to the Register's interpretation in an

28
     internal manual, Compendium of Copyright Office Practices)).

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 1
              Therefore, the issue surrounding the information about all of the authors is

 2
     irrelevant to this case because whether there is a need for supplementing or not has not
     relevance to the issue of ownership or the validity of the registrations.
 3
 4
        5. Failure to Provide Information About the Derivative Work’s Prior Version Is Also
 5
              A Matter of Supplementation.
 6
              A work consisting of editorial revisions, annotations, elaborations, or other
 7
     modifications which, as a whole, represent an original work of authorship, is a
 8
     “derivative work”. Ets-Hokin v. Skyy Spirits, Inc., 225 F.3d 1068, 1078 (9th Cir. 2000).
 9
     This issue does not typically arise. Ordinarily in derivative works cases the underlying
10
     work is copyrightable, and courts implicitly recognize copyrightability as a prerequisite
11
     to invocation of a derivative rights claim. See, e.g., Stewart v. Abend, 495 U.S. 207
12
     (1990) (discussing a motion picture based upon a magazine story); Pickett v. Prince, 207
13
     F.3d 402 (7th Cir.2000) (discussing a guitar based upon the copyrighted symbol
14
     associated with the rock legend Prince); Micro Star v. Formgen Inc., 154 F.3d 1107 (9th
15
     Cir.1998) (discussing video game software based upon other video game
16
     software); ERG, 122 F.3d 1211 (discussing costumes based upon cartoon
17
     characters); Russell v. Price, 448 F.Supp. 303 (C.D.Cal.1977) (discussing a movie based
18
     upon the play “Pygmalion”). Ets-Hokin v. Skyy Spirits, Inc., 225 F.3d 1068, 1078 (9th Cir.
19
     2000).
20
              Under section 102, titled “[s]ubject matter of copyright: [i]n general,” copyright
21
     protection “subsists ... in original works of authorship.” 17 U.S.C. § 102(a). Such
22
     “original works of authorship” include not only underlying (preexisting) works but
23
     also derivative works and compilations. (emphasis added) See id. § 103(a) (“The
24
     subject matter of copyright ... includes compilations and derivative works”). Ets-Hokin v.
25
     Skyy Spirits, Inc., 225 F.3d 1068, 1078, fn.6 (9th Cir. 2000).
26
              Copyright could not be invalidated on basis that pro se registrant had initially
27
     incorrectly claimed in applications for registration that they contained only his own
28
     original material, where he had voluntarily amended his applications to reflect that
                                                   - 10 -
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 1
     his text was derivative of prior works and that his graphic materials relied upon

 2
     preexisting government documents, and Copyright Office accepted his amended
     registrations. Wilson v. Brennan, D.N.M.2009, 666 F.Supp.2d 1242, affirmed 390
 3
     Fed.Appx. 780, 2010 WL 3069616.
 4
            Further, the Compendium states;
 5
                   If a work has been changed or revised since it was registered, the changes
 6
                   or revisions cannot be added to the registration record with a supplementary
 7
                   registration. See 37 C.F.R. § 202.6(d)(4)(ii). Likewise, the Office will not
 8
                   issue a supplementary registration for an entirely new work that has not
 9
                   been registered before (even if it is based on a previously registered work).
10
                   Instead, the applicant should submit a new application for a new basic
11
                   registration, together with an appropriate copy(ies) of the new or revised
12
                   version of the work.
13
            In this case, two of the subject designs were modified from the purchased designs.
14
     The changes as shown from the comparisons were substantial, and the Compendium
15
     instructs the derivatives to be newly registered. Compendium §1802.7 (3d ed. 2014).
16
     As discussed above, Neman as one of the authors having contributed to the elements
17
     registered the derivative designs as part of the group registrations.
18
19
        6. Section 411(b)(2) Is Not Triggered.
20
            A certificate of registration satisfies the requirements of this section and section
21
     412, regardless of whether the certificate contains any inaccurate information, unless--
22
     (A) the inaccurate information was included on the application for copyright registration
23
     with knowledge that it was inaccurate; and (B) the inaccuracy of the information, if
24
     known, would have caused the Register of Copyrights to refuse registration. 17 U.S.C.A.
25
     § 411(b)(1) (West 2021). In any case in which inaccurate information described under
26
     paragraph (1) is alleged, the court shall request the Register of Copyrights to advise the
27
     court whether the inaccurate information, if known, would have caused the Register of
28
     Copyrights to refuse registration. 17 U.S.C.A. § 411(b)(2) (West 2021).
                                                  - 11 -
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 1
            As discussed above, the Office clearly stated its position that the error or

 2
     omissions of the information about the author or derivative would be merely a matter of
     submitting a supplementation form. It is well established that immaterial, inadvertent
 3
     errors in an application for copyright registration do not jeopardize the validity of the
 4
     registration. See Masquerade Novelty, Inc. v. Unique Indus., Inc., 912 F.2d 663, 667–68
 5
     & n. 5 (3d Cir.1990); Whimsicality, Inc. v. Rubie's Costume Co., 891 F.2d 452, 456 (2d
 6
     Cir.1989) (citing Eckes v. Card Prices Update, 736 F.2d 859, 861–62 (2d
 7
     Cir.1984)); Harris v. Emus Records Corp., 734 F.2d 1329, 1335 (9th Cir.1984); Original
 8
     Appalachian Artworks, Inc. v. Toy Loft, Inc., 684 F.2d 821, 828 (11th Cir.1982);
 9
     2 Nimmer § 7.20, at 7–201. In general, an error is immaterial if its discovery is not likely
10
     to have led the Copyright Office to refuse the application. See Eckes, 736 F.2d at 861–62.
11
     As clearly shown in the Compendium, the Office would have not refused the applications
12
     in 2017 based on the alleged error or omission based on which Interfocus has raised
13
     issues in its motion.
14
15                                       III.    CONCLUSION

16      Based on the above, Interfocus’ motion should be denied.

17
18   Dated: November 15, 2021                   Respectfully submitted,
                                                /s/ Chan Yong Jeong
19                                              Chan Yong Jeong, Esq.
20                                              Attorney for Plaintiff

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